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                         Investment Funds ICAV
                     3   for its sub fund Cairn Capstone
                         Special Opportunities Fund
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                                                 UNITED STATES BANKRUPTCY COURT
                     8

                     9                            CENTRAL DISTRICT OF CALIFORNIA

                    10                                     LOS ANGELES DIVISION

                    11

                    12   In re:                                        Bankruptcy Case No.: 2:20-bk-15015-BR

                    13   TEMERITY TRUST MANAGEMENT, LLC,               Chapter 11

                    14                         Debtor.                 REPLY IN FURTHER SUPPORT
                                                                       OF MOTION FOR (I) ORDER
                    15                                                 APPOINTING TRUSTEE PURSUANT
                                                                       TO 11 U.S.C. § 1104(A), OR,
                    16                                                 ALTERNATIVELY, (II) ORDER
                                                                       GRANTING RELIEF FROM
                    17                                                 AUTOMATIC STAY PURSUANT
                                                                       TO 11 U.S.C. § 362(D)
                    18
                                                                       Hearing Date: July 21, 2020
                    19
                                                                       Time: 10:00 a.m.
                    20
                                                                       Courtroom: 1668
                    21

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                     1           Cairn Capital Investment Funds ICAV, for its sub fund Cairn Capstone Special
                     2   Opportunities Fund (“Cairn”), 1 hereby respectfully submits this Reply in further support of its
                     3   Motion for (I) Order Appointing Trustee Pursuant to 11 U.S.C. § 1104(a), or, Alternatively, (II)
                     4   Order Granting Relief From Automatic Stay Pursuant to 11 U.S.C. § 362(d) [Docket No. 25] (the
                     5   “Motion”) and in response to the Debtor’s opposition to the Motion [Docket No. 37] (the
                     6   “Opposition” or “Opp.”).2
                     7                                         PRELIMINARY STATEMENT
                     8           The Debtor does not dispute that William Sadleir – who has been charged in two
                     9   jurisdictions for fraud and other financial crimes – is unfit to serve as a fiduciary for the Debtor’s
                    10   estate. Recognizing that Sadleir’s continued service as the Debtor’s manager constitutes “cause”
                    11   for appointing a trustee under Section 1104(a) of the Bankruptcy Code, the Debtor has sought to
                    12   implement a purported quick fix: replacing Sadleir with his wife, Ms. Hanan Kadadu. This
                    13   blatant attempt to circumvent Section 1104(a) fails as a matter of law.
                    14           Where, as here, cause exists to replace the debtor’s management under Section 1104(a), the
                    15   only way a debtor can avoid the appointment of a trustee is by moving the court to appoint a
                    16   “responsible person” who is not beholden to prior management or influenced by it, is free from the
                    17   taint of its wrongdoing and is fit to serve as a fiduciary. The Debtor has not even attempted to
                    18   show that Kadadu meets this criteria or can be trusted to manage the Debtor. Indeed, the record is
                    19   clear that Kadadu – who appointed Sadleir as the Debtor’s authorized agent following his arrest in
                    20   connection with the PPP Criminal Complaint – is beholden to Sadleir and purports to serve as the
                    21   Debtor’s manager for the sole purpose of defeating the Motion.
                    22           Nor does the illusory ouster of Sadleir in favor of Kadadu cure the irreconcilable conflict of
                    23   interest between the Debtor and its management, which stems from the fact that Kadadu and
                    24   Sadleir live in the Property – which the Debtor owns – pursuant to a purported “arrangement” that
                    25   Kadadu and Sadleir negotiated with themselves. Worse still, Kadadu’s own testimony shows that
                    26   she and Sadleir engaged in blatant self-dealing to the detriment of Cairn and other creditors. Most
                    27   1
                                 All references in this Motion to Cairn shall be deemed to include, as the context may require, its investment
                    28   manager, Cairn Capital Limited.
                         2
                                 Capitalized terms used but not defined in this Reply shall have the meanings ascribed to them in the Motion.
KASOWITZ BENSON
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                     1   glaringly, Kadadu and Sadleir allowed the Debtor’s subsidiaries to use the Property to entertain
                     2   their employees and business executives for no consideration. Moreover, Sadleir and Kadadu
                     3   claim to have paid “rent” for the Property in the form of an agreement to reduce Sadleir’s salary
                     4   from one of the Debtor’s subsidiaries – not the Debtor. Kadadu and Sadleir have shown
                     5   through their actions that they cannot be trusted to manage the Debtor in the Chapter 11 Case. A
                     6   trustee must be appointed to protect creditors from further wrongdoing.
                     7           To ensure that the Debtor’s unsecured creditors reap a monetary benefit from the
                     8   appointment of a trustee – and notwithstanding the fact that Cairn’s secured claim is larger than
                     9   the value of the Property – Cairn would be willing to set aside funds (e.g., from proceeds of a sale
                    10   of the Property), in a reasonable amount to be determined following consultation and negotiation
                    11   with the trustee, to (i) pay the fees and costs of the trustee; and (ii) provide a recovery to the
                    12   Debtor’s unsecured creditors. Cairn therefore believes that unsecured creditors may receive
                    13   higher distributions if a trustee is appointed than if Cairn were able to proceed with the
                    14   foreclosure on the Property outside of bankruptcy.
                    15           If the stay is lifted or this bankruptcy case is dismissed, Sadleir may succeed in further
                    16   eroding the value of the Property to the detriment of all creditors. Outside of bankruptcy, Sadleir
                    17   will likely try to delay a value-maximizing sale of the Property after a foreclosure by taking
                    18   advantage of the moratorium on eviction proceedings in Los Angeles County, which could allow
                    19   him to remain in the Property for months, if not years. Thus, if this case were dismissed, Sadleir
                    20   may still emerge victorious in his goal of hindering Cairn and other creditors and causing them
                    21   delay, and continuing his improper extraction of value from the Debtor without giving any
                    22   consideration. Sadleir should not be permitted to use the moratorium on evictions – which is
                    23   meant to protect those affected by the COVID-19 pandemic – as a sword against innocent
                    24   creditors. A Chapter 11 trustee would be able to conduct a rigorous marketing process for the
                    25   Property and sell it pursuant to Section 363 of the Bankruptcy Code free and clear of Sadleir’s
                    26   purported possessory interest in the Property, for the benefit of all creditors. 3 Thus, Cairn
                    27
                         3
                    28           See generally Pinnacle Rest. at Big Sky, LLC v. CH SP Acquisitions, LLC (In re Spanish Peaks Holdings II,
                         LLC), 872 F.3d 892 (9th Cir. 2017).
KASOWITZ BENSON
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                     1   strongly prefers the appointment of a Chapter 11 trustee to all other potential remedies. And such
                     2   an appointment will still provide Sadleir with an opportunity to refinance Cairn’s loans pending
                     3   the trustee’s disposition of the Property.
                     4           Finally, the Opposition fails to refute that cause exists to lift the automatic stay – which
                     5   Cairn seeks as an alternative relief – and allow Cairn to complete the foreclosure on the Property.
                     6   The rapid erosion of the value of Cairn’s collateral, caused among other things by the Debtor’s
                     7   failure to pay taxes on the Property, is beyond cavil. Nor has the Debtor carried its burden of
                     8   showing that Cairn’s secured position is adequately protected by the existence of an equity
                     9   cushion. Therefore, if the Court does not appoint a trustee, it should grant Cairn relief from the
                    10   automatic stay.
                    11                                                        REPLY
                    12   I.      THE COURT SHOULD GRANT THE MOTION BECAUSE THE DEBTOR
                                 FAILED TO FILE THE OPPOSITION IN A TIMELY MANNER
                    13

                    14           1.       The Debtor was required to file its Opposition by July 7, 2020 (14 days before the
                    15   hearing on the Motion) pursuant to Local Rule 9013-1(f)(1). On July 7, 2020, the Debtor’s
                    16   proposed counsel contacted Cairn’s counsel by telephone to request a 24-hour extension to submit
                    17   the Opposition due to personal issues. As a professional courtesy, Cairn’s counsel agreed to a
                    18   24-hour extension.4
                    19           2.       The Debtor filed the Opposition, without the Kadadu Declaration (as defined
                    20   below), at 7:17 a.m. on July 9, 2020, i.e., more than seven hours after the extended deadline. See
                    21   Docket No. 34. A “corrected” Opposition, which included the Kadadu Declaration, was filed
                    22   later that day at 1:56 p.m., i.e., almost 14 hours after the extended deadline. See Docket No. 37.
                    23           3.       The Debtor’s tardy filing has materially disadvantaged Cairn by curtailing the time
                    24   allotted to it to prepare and file this Reply. The Court should therefore grant the Motion pursuant
                    25   to Local Rule 9013-1(h), which instructs that “if a party does not timely file and serve documents,
                    26   4
                                 A true and correct copy of the correspondence between the Debtor’s proposed counsel and Cairn’s counsel
                    27   confirming the 24-hour extension is attached as Exhibit A to the Supplemental Declaration of Andrew K. Glenn in
                         Support of Cairn’s Motion for (I) Order Appointing Trustee Pursuant to 11 U.S.C. § 1104(a), or, Alternatively, (II)
                    28   Order Granting Relief From Automatic Stay Pursuant to 11 U.S.C. § 362(d) (“Glenn Supp. Decl.”), which is filed
                         concurrently herewith.
KASOWITZ BENSON
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                     1   the court may deem this to be consent to granting or denial of the motion, as the case may be.”
                     2   See also Kassabian v. Dobos (In re Dobos), Case No. 18-1001-BR, July 31, 2018 Hr’g Tr. at 2
                     3   (Bankr. C.D. Cal. Oct. 30, 2018) [Docket No. 28], aff’d, 603 B.R. 31 (B.A.P. 9th Cir. 2019)
                     4   (granting a motion to dismiss a complaint and refusing to consider an opposition thereto where
                     5   the opposition was tardy and included no explanation for the delay). 5
                     6           4.       Even if the Court were to consider the Opposition, however, the Motion should be
                     7   granted for the reasons stated therein and as further explained below.
                     8   II.     THE COURT SHOULD APPOINT A TRUSTEE PURSUANT TO
                     9           SECTION 1104(A) OF THE BANKRUPTCY CODE

                    10           A.       The Debtor Has Not Cured Sadleir’s Tainted Management

                    11           5.       On June 15, 2020 – fourteen days after Sadleir signed and filed the Chapter 11
                    12   petition as the Debtor’s manager – the Debtor filed with the Court a Consent and Agreement of
                    13   the Sole Member of Temerity Trust Management, LLC to Commence Chapter 11 Bankruptcy
                    14   Proceeding (the “Consent and Agreement”). See Docket No. 17 at 31-32. The Consent and
                    15   Agreement, a document signed by Kadadu as “Sole Member” and Sadleir as “Manager,”
                    16   empowers, directs and authorizes Sadleir without further action to (i) “direct the Bankruptcy
                    17   Case”; (ii) act as a “Responsible Individual” or “Authorized Agent” for the Company in the
                    18   Chapter 11 Case; and (iii) “take all actions necessary or appropriate to successfully prosecute a
                    19   Chapter 11 case, including . . . the using of Company assets . . . act on Company’s behalf . . .
                    20   and/or execute all agreements . . . and to do all things, as shall be necessary and [appropriate] in
                    21   his best judgment to effect the foregoing.” See id. at 31.
                    22           6.        The Debtor asserts, however, that “immediately after” the filing of the Chapter 11
                    23   Case on June 1, 2020 (the “Petition Date”), Kadadu allegedly “asked for and accepted the
                    24   resignation of [Sadleir] as manager,” and on June 2, 2020 “appointed [herself] as sole manager.”
                    25   See Kadadu Decl. ¶¶ 1, 14.6
                    26           7.       That explanation defies credulity. First, the Consent and Agreement is the only
                    27   5
                                  A true and correct copy of the Court’s bench ruling in In re Dobos is attached hereto.
                         6
                    28            The Declaration of Hanan Kadadu (the “Kadadu Declaration” or “Kadadu Decl.”) was filed concurrently
                         with the “corrected” Opposition [Docket No. 37].
KASOWITZ BENSON
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                     1   operative document before the Court concerning the governance of the Debtor during the Chapter
                     2   11 Case. While the Debtor argues that the Consent and Agreement was purportedly revoked by
                     3   Kadadu on June 2, 2020, the Debtor has failed to put forth any documentation evidencing this
                     4   alleged revocation of Sadleir’s corporate authority.
                     5           8.       Second, the Debtor does not explain (because it cannot) why Kadadu would
                     6   authorize Sadleir to commence the Chapter 11 Case and appoint him as the Debtor’s sole
                     7   “Authorized Agent” in the Chapter 11 Case, only to revoke that authority and demand his
                     8   resignation immediately thereafter. Indeed, because Kadadu lives with Sadleir (Kadadu Decl.
                     9   ¶ 15), she learned of the criminal complaints against Sadleir no later than May 22, 2020 – ten
                    10   days before the Petition Date – when Sadleir was arrested.7 The Debtor does not point to any
                    11   new information concerning Sadleir’s acts of fraud that came to light in the first 24 hours of the
                    12   Chapter 11 Case – or any other change in circumstances during that period – that would explain
                    13   Kadadu’s alleged decision to remove Sadleir from management on June 2, 2020.
                    14           9.       Third, while the Debtor admits that Kadadu transferred her membership interest in
                    15   the Debtor to the William K. Sadleir and Hannah K. Sadleir Trust in 2017, it alleges that
                    16   “[s]hortly after the Petition Date, the Sadleirs agreed to amend the trust to provide that
                    17   notwithstanding anything to the contrary in the trust, Mr. Sadleir has no right to manage the
                    18   Debtor or any of its subsidiaries.” See Opp. at 8-9; Kadadu Decl. ¶ 23 (emphasis added). Again,
                    19   the Debtor has presented no documentation evidencing this alleged amendment of the trust
                    20   agreement.
                    21           10.      As highlighted by its attempt to distance itself from Sadleir, the Debtor does not
                    22   seriously dispute that cause exists to remove Sadleir from management in light of the criminal
                    23   proceedings pending against him. Nor does the Debtor dispute (because it cannot) that courts in
                    24   this Circuit and others have uniformly “[taken] into evidence” pending criminal charges and
                    25   ongoing investigations by governmental authorities against the debtor’s management when
                    26   considering motions to appoint a trustee pursuant to Section 1104(a)(1). Opp. at 13 n.1. See In re
                    27
                         7
                    28           See https://www.justice.gov/usao-cdca/pr/hollywood-executive-arrested-federal-fraud-charges-allege-he-
                         pocketed-money-covid-19.
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                     1   Am. Res., Ltd., 54 B.R. 245, 247 (Bankr. D. Haw. 1985) (“[I]ndependent inquiry by the federal
                     2   grand jury [among other bodies] has . . . found substantial basis in the facts to support the
                     3   concerns expressed by the creditors who seek appointment of a trustee.”); In re Okla. Ref. Co.,
                     4   838 F.2d 1133, 1136 n.2 (10th Cir. 1988) (affirming bankruptcy court’s decision to appoint a
                     5   trustee, reasoning that “[c]ase law . . . supports lenders’ claims that debtor’s effort to manage the
                     6   company was impeded by the existence of at least four criminal cases pending against either the
                     7   debtor’s president . . . or some of the affiliated companies.”); Tradex Corp. v. Morse, 339 B.R.
                     8   823, 834-35 (D. Mass. 2006) (affirming bankruptcy court’s decision to appoint a trustee in light
                     9   of “[t]he existence of a grand jury investigation and civil suits pursuing allegations relating to [the
                    10   debtor’s president and sole shareholder’s] business actions[.]”).8
                    11           11.      Furthermore, the Debtor has not cited any authority to support its argument that
                    12   the Criminal Complaint, the PPP Criminal Complaint, the SEC Complaint and the BlackRock
                    13   Complaint are “inadmissible hearsay.” See Opp. at 12 n.1. As the foregoing cases show, they are
                    14   admissible and, in this case, highly probative. Nor has the Debtor put forth any evidence to refute
                    15   the criminal allegations against Sadleir, which, as the Debtor acknowledges, are “of serious
                    16   concern.” See id. 13 n.1. The Court should remove Sadleir from management and appoint a
                    17   trustee for this reason alone.
                    18           B.       The Alleged Appointment of Kadadu as Manager Does
                    19                    Not Eliminate the Cause for Appointing a Trustee

                    20           12.      Recognizing that Sadleir’s fraudulent acts constitute “cause” for appointing a
                    21   trustee under Section 1104(a) of the Bankruptcy Code, the Debtor has attempted a cynical and
                    22   ineffectual fix: replacing Sadleir with his wife Kadadu as the Debtor’s manager. The Debtor
                    23   argues that because Kadadu “is not the subject of allegations made against [Debtor’s] prior
                    24   management” there is no longer cause to appoint a trustee. Opp. at 2. The Debtor is wrong, and
                    25   its blatant attempt to eviscerate Section 1104(a) must fail.
                    26   8
                                   The Debtor argues that American Resources and Oklahoma Refining are distinguishable because in both
                    27   cases there was additional evidence that supported a finding of “cause” under Section 1104(a)(1). Opp. at 13 n.1.
                         Nothing in those cases, however, implies that the pendency of a criminal complaint against debtor’s management –
                    28   let alone two criminal complaints and an SEC complaint – is insufficient to independently warrant the appointment of
                         a trustee, as it does here.
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                     1          13.     This Court has proscribed attempts to circumvent Section 1104(a) by installing as
                     2   “new management” cronies of the managers subject to allegations of fraud or other misconduct. In
                     3   re Real Estate Partners, Inc., Case No. 07-13239, 2007 WL 7025114 (Bankr. C.D. Cal. Nov. 20,
                     4   2007), aff’d, Case No. 07-1440, 2009 WL 3246619 (C.D. Cal. Oct. 5, 2009).9 Where, as here,
                     5   “new management was appointed shortly before or after a petition is filed” to replace a
                     6   management whose acts constituted “cause” to appoint a trustee under Section 1104(a), the Court
                     7   must undertake “heightened scrutiny” to ensure that the current management is not “‘tainted’ by
                     8   association with prior bad management.” Id. at *4. While there is no per se rule that the court
                     9   must appoint a trustee where the acts of former management amount to “cause” under Section
                    10   1104(a), the only way a debtor may avoid the appointment of a trustee in such a case is “by the
                    11   expedient of a ‘responsible person’ or similar motion to the Court to appoint such a fiduciary other
                    12   than a trustee.” Id. at *2. The debtor must put forth evidence that former management will “have
                    13   absolutely no further role in the case.” Id. at *1. Further, the debtor must show that new
                    14   management has “absolutely no connection to prior management, is in no way [beholden] to them
                    15   and can serve as the kind of fiduciary that the case needs.” Id. at *4. The court then evaluates
                    16   “whether prior management still has vestiges of control, whether the designated fiduciary is a
                    17   known or an unknown and whether the designated fiduciary has the reputation and competence
                    18   needed for the engagement.” Id.
                    19          14.     Courts in other jurisdictions have similarly held that a debtor cannot avoid the
                    20   appointment of a trustee under Section 1104 simply by appointing “new management” without
                    21   showing that it is truly independent from, and not tainted by the acts of, prior management. See In
                    22   re The 1031 Tax Grp., LLC, 374 B.R. 78, 86 (Bankr. S.D.N.Y. 2007) (“[T]he fact that the debtor’s
                    23   prior management might have been guilty of fraud, dishonesty, incompetence, or gross
                    24   mismanagement does not necessarily provide grounds for the appointment of a trustee under
                    25   § 1104(a)(1), as long as a court is satisfied that the current management is free from the
                    26   taint of prior management.”) (emphasis added); Dardarian v. La Sherene, Inc. (In re La
                    27   Sherene, Inc.), 3 B.R. 169, 175 (Bankr. N.D. Ga. 1980) (“Future plans, revealed by current
                    28   9
                                A Westlaw copy of the Court’s decision in Real Estate Partners is attached hereto.
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                     1   management through testimony or much harder evidence, will not condone past management
                     2   frauds, dishonesty, gross mismanagement, or incompetence so as to overcome the statutory
                     3   requirement of Section 1104(a)(1) for the appointment of a trustee.”).
                     4          15.        The Debtor has not moved the Court for permission to appoint Kadadu as a
                     5   “responsible person” in lieu of a trustee. Nor has it presented (because it cannot) any evidence that
                     6   Sadleir will have “no further role” in the Chapter 11 Case, or that Kadadu has “absolutely no
                     7   connection to [Sadleir], is in no way [beholden] to [Sadleir] and can serve as the kind of fiduciary
                     8   that the case needs.” Real Estate Partners, 2007 WL 7025114, at *1, *4. The Court should grant
                     9   the Motion for this reason alone.
                    10          16.        Moreover, even if the Debtor had properly sought the Court’s permission to appoint
                    11   Kadadu as a fiduciary, the record is clear that Kadadu is unfit to serve as a “responsible person”
                    12   for the Debtor.
                    13          17.        First, far from having “absolutely no connection” to Sadleir, Kadadu is married to
                    14   Sadleir and lives with him. See Kadadu Decl. ¶ 15. Kadadu is also Sadleir’s business partner and
                    15   his joint beneficiary in the William K. Sadleir and Hannah K. Sadleir Trust, which holds Kadadu’s
                    16   membership interest in the Debtor. See id. ¶ 23. It would therefore be impossible for Kadadu to
                    17   manage the Debtor without any influence from Sadleir.
                    18          18.        Second, Kadadu’s own actions prove that she is beholden to Sadleir and cannot be
                    19   trusted to serve as a fiduciary for the Debtor’s estate. As described above, Kadadu appointed
                    20   Sadleir as the Debtor’s “Authorized Agent” in the Chapter 11 Case notwithstanding the fact that he
                    21   had been criminally charged in two jurisdictions and arrested in connection with the PPP Criminal
                    22   Complaint, which the Debtor now acknowledges is a matter of “serious concern.” See Opp. at 13
                    23   n.1. Furthermore, the Debtor’s naked assertion that Kadadu was not implicated in Sadleir’s
                    24   fraudulent schemes is belied by the evidence. As shown in the Motion, Kadadu was implicated in
                    25   the PPP Criminal Complaint, which alleged that Sadleir had used some of the illicitly obtained
                    26   funds to repay a $40,114.94 debt on Kadadu’s American Express card. See Glenn Decl., Ex. F at
                    27   13. Moreover, the Debtor recently admitted that the $10,000 payment made to the Debtor’s
                    28   proposed counsel – which, according to the Debtor’s schedules, was a “capital contribution” that
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                     1   Kadadu had “borrowed from American Express” [Docket No. 17 at 20] – was in fact made with
                     2   the American Express account into which, according to the PPP Criminal Complaint, Sadleir had
                     3   transferred illicit PPP funds. See id.; Glenn Supp. Decl., Ex. B. 10 Additionally, the Debtor’s
                     4   attempt to distance Kadadu from Sadleir’s fraud on BlackRock is undercut by the recent addition
                     5   of Kadadu as a defendant in the BlackRock Complaint. 11
                     6           19.      Third, the undisputed fact the Sadleir’s American Express card was used to pay the
                     7   Debtor’s proposed counsel shows that Sadleir is still “playing a role” in the Chapter 11 Case.
                     8           20.      In light of the foregoing, the Court should reject the Debtor’s attempt to evade the
                     9   appointment of a trustee under Section 1104(a) by purporting to install Kadadu as the Debtor’s
                    10   new manager.
                    11           C.       Sadleir and Kadadu Have Repeatedly Breached
                    12                    Their Fiduciary Duties to the Debtor

                    13           21.      The Court should appoint a trustee because Kadadu’s testimony unequivocally
                    14   demonstrates that Sadleir and Kadadu have breached their fiduciary duties to the Debtor on
                    15   numerous occasions to benefit themselves.
                    16           22.      It is undisputed that Sadleir and Kadadu live in the Property, which the Debtor
                    17   owns. See Kadadu Decl. ¶ 15. The Debtor claims that Sadleir and Kadadu’s tenancy is governed
                    18   by an “arrangement” that they negotiated with themselves on behalf of the Debtor. See id. ¶ 31;
                    19   Opp. at 10. This inherent conflict of interest between the Debtor and the Sadleirs independently
                    20   constitutes “cause” for appointing a trustee. In re BLX Grp., Inc., 419 B.R. 457, 472 (Bankr. D.
                    21   Mont. 2009) (“putting [the insider] in charge of any debtor-in-possession financing at [this]
                    22   juncture would be ill-advised” because the insider should not be allowed to control any spending
                    23   related to the property in which she lived); In re Tel-Net Haw., Inc., 105 B.R. 594, 595 (Bankr. D.
                    24   Haw. 1989) (“[C]onflicting interests preclude the proper and effective operations of [the] Debtor
                    25   and dictate the appointment of an impartial trustee.”).
                    26
                         10
                    27            A true and correct copy of the correspondence between the Debtor’s proposed counsel and Cairn’s counsel,
                         dated July 10, 2020, is attached as Exhibit B to the Glenn Supp. Decl.
                         11
                    28            A true and correct copy of the BlackRock Complaint, as amended, is attached as Exhibit C to the Glenn
                         Supp. Decl.
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                     1            23.      The Debtor argues that “Kadadu and her family have provided rental consideration
                     2   to the Debtor significantly in excess of the current fair value rent of the premises.” See Opp. at
                     3   13.12 It is clear, however, that any “rental consideration” allegedly provided by Sadleir and
                     4   Kadadu – for which the Debtor has submitted no supporting documentation – is illusory at best
                     5   and fraudulent at worst.
                     6            24.      First, Kadadu has testified that she and Sadleir provided the Debtor “with rent in
                     7   the form of . . . a significant portion of [Sadleir’s] salary[,]” which was “reduced from $450,000
                     8   to $100,000.” See Kadadu Decl. ¶¶ 31-33. The Debtor, however, has no gross revenue from
                     9   business and no cash. See Statement of Financial Affairs [Docket No. 17 at 18] (listing gross
                    10   revenue from business as “none”); Schedule A/B: Assets – Real and Personal Property [Docket
                    11   No. 17 at 9] (cash, cash equivalents and financial assets valued at $0). Any concession Sadleir
                    12   made as “rental consideration” was therefore not for the benefit of the Debtor, but
                    13   apparently for the benefit of one of the Aviron Entities.
                    14            25.      This diversion of profits to a third party may also constitute an illegal conversion
                    15   of Cairn’s collateral, which includes “all existing and future rents . . . profits, proceeds, revenues,
                    16   income . . . and all other benefits paid or payable for using, leasing . . . or otherwise enjoying the
                    17   Property for any length of time.” See Kufrin Decl., Ex. C at 7 (definition of “Rents and Profits”
                    18   under the Deed of Trust).13
                    19            26.      Second, Kadadu has testified that, as part of the “arrangement” with the Debtor,
                    20   she and Sadleir agreed to reimburse the Debtor for property taxes due on the Property. See
                    21   Kadadu Decl. ¶ 31. Sadleir and Kadadu, however, breached that arrangement when they failed to
                    22   pay approximately $81,000 in property tax due in December 2019 and April 2020. See id. ¶ 34.
                    23   Yet the Debtor’s schedules, signed by Kadadu under penalty of perjury, list the Debtor’s claims
                    24   against Kadadu and Sadleir for “right of reimbursement arising from use of debtor’s property”
                    25   at $0.00. See Docket 17 at 8. Evidently, Kadadu has no intention of pursuing the Debtor’s
                    26
                         12
                    27           As discussed in Cairn’s evidentiary objection to the Kadadu Declaration, filed concurrently herewith,
                         Kadadu’s purported testimony concerning the rental value of the Property is inadmissible.
                         13
                    28           Cairn reserves all rights in connection with the illegal conversion of its collateral, including against Sadleir
                         and Kadadu in their personal capacity.
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                     1   undisputed rent claim against herself and Sadleir.
                     2           27.      Equally glaring is the Debtor’s concession that the Property was used “to entertain
                     3   employees of its subsidiaries” for no apparent consideration. See Kadadu Decl. ¶ 15. That the
                     4   Debtor received no consideration for this use of the Property is evidenced by the fact that, as
                     5   described, the Debtor has no cash from business activities or otherwise. This egregious breach of
                     6   management’s fiduciary duties to the Debtor constitutes cause to appoint a trustee. See In re
                     7   Clinton Centrifuge, Inc., 85 B.R. 980, 985 (Bankr. E.D. Pa. 1988) (“There are a [plethora] of
                     8   decisions justifying the appointment of a trustee, pursuant to 11 U.S.C. § 1104(a)(1), because of
                     9   questionable business dealings between a debtor corporation and a related, nondebtor entity.”). 14
                    10   Furthermore, Kadadu’s cavalier admission that she and Sadleir caused the Debtor to allow the
                    11   free use of the Property by other entities demonstrates that, at best, she does not understand her
                    12   responsibilities as a fiduciary for the Debtor. At worst, she has blatantly ignored them. In any
                    13   event, Kadadu is not fit to serve as a fiduciary of the Debtor’s estate.
                    14           28.      As Cairn showed in its Motion, a trustee must be appointed where management
                    15   “has not suggested that he is or will be capable of pursuing the aggressive, independent
                    16   investigation of all the transactions in issue, or that he will prosecute litigation to recover assets,
                    17   or sue for the damages sustained by the debtor.” In re Intercat, Inc., 247 B.R. 911, 923 (Bankr.
                    18   S.D. Ga. 2000). Here, this is no longer a hypothetical concern. Kadadu and Sadleir have
                    19   repeatedly breached their fiduciary duties to the Debtor – both pre- and post-petition – and shown
                    20   through their actions that they cannot be trusted to manage the Debtor in the Chapter 11 Case.
                    21   The Court should appoint a trustee for this additional, independent reason.
                    22           D.       Appointment of a Trustee Is in the Best Interests of Creditors
                    23           29.      Kadadu’s and Sadleir’s repeated breaches of their fiduciary duties to the Debtor are
                    24   of grave concern to the Debtor’s creditors, which must rely on the Debtor’s management to protect
                    25   their interests in the Chapter 11 Case. Because the appointment of a trustee is “in the interests of
                    26   creditors” pursuant to Section 1104(a)(2), the Court should appoint a trustee for this additional,
                    27   independent reason. See 11 U.S.C. § 1104(a)(2); BLX Grp., 419 B.R. at 472 (appointing a trustee
                    28   14
                                 The free use of the Property by third parties may also constitute an illegal conversion of Cairn’s collateral.
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                     1   where it was “in the best interests of all creditors to eliminate the insider circumstances and
                     2   conflicts of interest created as a result of [insider’s] interest in [the relevant property.]”).
                     3           30.     The Debtor’s only argument in response is that “Kadadu can insure” that the value
                     4   of the Property be monetized for the benefit of all parties and interest. See Opp. at 14. A trustee,
                     5   however, will protect the interests of creditors better than Sadleir and Kadadu, who are inherently
                     6   conflicted and, as described above, have repeatedly flouted their fiduciary duties to the Debtor.
                     7   The Court should therefore appoint a trustee pursuant to Section 1104(a)(2) of the Bankruptcy
                     8   Code.
                     9   III.    ALTERNATIVELY, THE COURT SHOULD LIFT THE AUTOMATIC STAY

                    10           A.      Cairn Has Shown “Cause” for Lifting the Automatic Stay
                                         Under Section 362(d)(1)
                    11

                    12           31.     The Debtor argues that Cairn “failed to make a prima facie case of cause,” citing
                    13   In re DB Capital Holdings, LLC, 454 B.R. 804, 816-17 (Bankr. D. Colo. 2011). See Opp. at 14.
                    14   The DB Capital court held, however, that a secured creditor must only prove a “decline in value
                    15   [of the collateral]—or the threat of a decline—in order to establish a prima facie case.” Id. at 817
                    16   (internal quotation marks omitted).
                    17           32.     Here, Kadadu’s own testimony shows that Cairn’s collateral is declining in value.
                    18   Kadadu alleges that approximately $81,000 in property taxes are owed on the Property due to
                    19   Sadleir’s inability to pay the taxes in December 2019 and April 2020 purportedly as a result of his
                    20   ouster from certain Aviron Entities in the BlackRock Litigation (which is in its early stages). See
                    21   Kadadu Decl. ¶ 34. Kadadu does not (because she cannot) testify when – if at all – the Debtor will
                    22   repay the property tax that is owed and continues to accrue. Significantly, the amount owed is
                    23   likely much higher, as evidenced by the proof of claim filed by Los Angeles County Treasurer &
                    24   Tax Collector, which asserts a secured claim of $370,694.05. See Claim 1-1 at 2.
                    25           33.     Moreover, the value of Cairn’s collateral has declined by virtue of Sadleir and
                    26   Kadadu’s impermissible diversion of Rents and Profits – which are part of Cairn’s collateral under
                    27   the Deed of Trust – by (i) allowing the Debtor’s subsidiaries to use the Property free of charge
                    28   (Kadadu Decl. ¶ 15); and (ii) paying purported rent on the Property to a third party by reducing
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                     1   Sadleir’s salary that is not owed by the Debtor (id. ¶ 33).
                     2          34.     Because Cairn has easily shown a prima facie case of cause under Section
                     3   362(d)(1), the Debtor has the burden of showing adequate protection. See 11 U.S.C. § 362(g); In
                     4   re Big3D, Inc., Case No. 08-16768, 2009 WL 9085556, at *2 (Bankr. E.D. Cal. Aug. 28, 2009),
                     5   aff’d, 438 B.R. 214 (B.A.P. 9th Cir. 2010) (“Ordinarily in a motion for relief from stay, the debtor
                     6   has the burden of proof regarding the issue of adequate protection.”). The Debtor has utterly
                     7   failed to carry this burden.
                     8          35.     The Debtor argues that Cairn’s claim against the Debtor is secured by the Property
                     9   and personal property owned by other Aviron Entities. See Opp. at 15. That is incorrect. As
                    10   explained in the Motion, under the Guaranty the Debtor “irrevocably and unconditionally”
                    11   guaranteed the “full and punctual payment” of the Loan made to the Borrower. See Kufrin Decl.,
                    12   Ex. B at 1. Cairn need not look to any collateral other than the Property to collect on its claim
                    13   against the Debtor. In any event, the Debtor has put forth no admissible evidence concerning the
                    14   value of the personal property securing Cairn’s claim against the Borrower.
                    15          36.     The Debtor argues that the Property’s value is “at least $17.5 million.” See Opp. at
                    16   10. The only basis for this assertion, however, is Kadadu’s inadmissible lay testimony. See
                    17   Kadadu Decl. ¶ 28. It is well settled that, pursuant to Rules 701 and 702 of the Federal Rules of
                    18   Evidence, a “debtor-homeowner who testifies in opposition to a motion for relief from the § 362
                    19   automatic stay, should be limited to giving his opinion as to the value of his home, but should not
                    20   be allowed to testify concerning what others have told him concerning the value of his or
                    21   comparable properties, unless the debtor truly qualifies as an expert under Rule 702 such as
                    22   being a real estate broker, etc.” In re Hatch, Case No. 17-23829, 2017 WL 8738241, at *2 (Bankr.
                    23   E.D. Cal. Aug. 30, 2017) (quoting Barry Russell, Bankruptcy Evidence Manual, Vol. II, § 701.2,
                    24   pp. 784-85 (2012-13)) (emphasis added).15
                    25          37.     Kadadu’s testimony is based exclusively on (i) her purported analysis of
                    26   “comparable properties” that she fails to describe or list; (ii) her conversations with “two real
                    27   estate brokers”; and (iii) her alleged “real estate experience” and the “research [she has] conducted
                    28   15
                                A Westlaw copy of In re Hatch is attached hereto.
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                     1   into the value of the [Property]”. See Kadadu Decl. ¶¶ 28-29. None of the foregoing can serve as
                     2   a foundation for testimony by a non-expert such as Kadadu, and, thus, the Court should strike them
                     3   as hearsay.
                     4            38.      The Debtor further argues that Cairn’s claim is “disputed and inflated” because the
                     5   Borrower’s events of default in February 2019 “did not occur as alleged.” See Opp. at 17. The
                     6   only purported evidentiary basis for this assertion, however, is Kadadu’s inadmissible testimony
                     7   concerning events as to which Kadadu – who “took an indefinite leave from Aviron Pictures” in
                     8   2018 – has no personal knowledge. See Kadadu Decl. ¶¶ 12, 18.
                     9            39.      Contrary to the Debtor’s argument (Opp. at 15), Mr. Kufrin’s testimony concerning
                    10   the Borrower’s events of default is based exclusively on Mr. Kufrin’s “personal knowledge,” and
                    11   his “review of Cairn’s books and records, relevant documents and other information prepared or
                    12   collected by Cairn’s employees, agents and/or advisors[.]” See Kufrin Decl. ¶ 2. Testimony based
                    13   on Cairn’s business records is admissible under Rule 803(6) of the Federal Rules of Evidence. See
                    14   In re McFadden, 471 B.R. 136, 160 (Bankr. D.S.C. 2012) (“[F]or documents to be admissible
                    15   under the business records exception, they do not have to be actually created by the witness
                    16   testifying to authenticate them . . . . Rule 803(6) merely requires, for records to be admissible as
                    17   business records, the witness must be familiar with the company’s record keeping system.”).16
                    18            40.      The Debtor’s argument that there is no “cause” under Section 362(d)(1) because
                    19   “[t]he Debtor was a successful business until late last year and . . . can be successful again” is
                    20   particularly baffling. See Opp. at 17. A “successful business” can surely boast more than zero
                    21   gross revenue from business and zero cash. See Docket No. 17 at 9, 18. The Debtor is clearly not
                    22   an operating business, let alone a successful one. Indeed, the only conceivable motivation Sadleir
                    23   and Kadadu had in commencing the Chapter 11 Case was to prevent Cairn from selling the
                    24   Property. That is not an appropriate reason for filing a bankruptcy petition. See Meadowbrook
                    25   Inv’rs’ Grp. v. Thirtieth Place, Inc. (In re Thirtieth Place, Inc.), 30 B.R. 503, 506 (B.A.P. 9th Cir.
                    26   1983) (“Where a petition is filed to subvert the legitimate rights of creditors in the absence of any
                    27
                         16
                    28            Cairn reserves the right to supplement its responses to the Debtor’s evidentiary objections to the Kufrin
                         Declaration and the Glenn Declaration, to the extent not addressed in this Reply.
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                     1   reasonable expectations that the debtor can successfully reorganize, there is no basis for access to
                     2   Chapter 11 and the protective machinery of the automatic stay.”). In light of the foregoing, cause
                     3   exists to lift the automatic stay under Section 362(d)(1).
                     4          B.      Relief From Stay Is Also Justified Under Section 362(d)(2)
                     5          41.     As shown above, the Debtor has not put forth any admissible evidence concerning
                     6   the value of the Property. As such, the Debtor cannot show that it has “significant equity” in the
                     7   Property, as required to defeat a motion to lift the stay under Section 362(d)(2). See Opp. at 17.
                     8   If necessary, Cairn will submit to the Court the third-party appraisal it has obtained, which shows
                     9   that the Property’s value is much lower than the total indebtedness owed to Cairn and secured by
                    10   the Deed of Trust. See Kufrin Decl. ¶ 25.
                    11          42.     Furthermore, the Court should not heed the Debtor’s exhortation to allow it more
                    12   time to “develop an exit/reorganization strategy from bankruptcy.” See Opp. at 18. The Property
                    13   will never be “necessary to an effective reorganization,” as Section 362(d)(2) requires, because
                    14   the Debtor is not operating any business and does not have any funds to administer a Chapter 11
                    15   to completion. Cairn should not be forced to wait while the value of its collateral is eroding. See
                    16   In re Century Inv. Fund VIII Ltd. P’ship, 155 B.R. 1002, 1006 (Bankr. E.D. Wis. 1989) (“It is
                    17   insufficient for the debtor to show merely that reorganization is impossible without the property[.]
                    18   When effective reorganization is impossible, the purpose of Chapter 11 and the automatic stay
                    19   cannot be fulfilled.”). Relief from the automatic stay is therefore independently justified under
                    20   Section 362(d)(2).
                    21   IV.    CAIRN PROVIDED PROPER NOTICE OF THE MOTION
                    22          43.     Cairn properly served the Motion on the Debtor and its proposed counsel, the
                    23   United States Trustee and all parties that have made an appearance in the Chapter 11 Case. In an
                    24   apparent attempt to distract the Court from the merits of the Motion, the Debtor argues that
                    25   “although the statute and rules do not specify the recipients” of the notice of a motion to appoint a
                    26   trustee, notice was required for all creditors. The Debtor is wrong. Local Rule 9013-1(d)
                    27   expressly requires service of motions only upon the “debtor and the debtor’s attorney, if any”
                    28   (where the adverse party is the debtor). Cairn complied with this Local Rule.
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                     1          44.     Furthermore, to comply with Rule 4001(a) of the Federal Rules of Bankruptcy
                     2   Procedure, which requires service of motions to lift the stay on the 20 largest creditors, Cairn
                     3   relied on the Debtor’s Official Form 204 – which the Debtor never amended – listing as “none”
                     4   the 20 largest creditors of the Debtor. In an abundance of caution, however, Cairn has served the
                     5   Motion on the purported creditors included in the service list that the Debtor has used during the
                     6   Chapter 11 Case. See Docket No. 38. Notice of the Motion is therefore sufficient and proper.
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                    11                               [Remainder of page intentionally left blank]
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                     1                                             CONCLUSION
                     2          For all the reasons set forth above and in the Motion, Cairn requests that the Court (i)
                     3   enter an order appointing a trustee pursuant to 11 U.S.C. § 1104(a); or, alternatively, if the Court
                     4   does not appoint a trustee, (ii) enter an order granting Cairn relief from automatic stay pursuant to
                     5   11 U.S.C. § 362(d) to complete the sale of the Property in accordance with Cairn’s rights under
                     6   state law; and (iii) grant such other and further relief as the Court deems necessary and
                     7   appropriate.
                     8   Dated: July 14, 2020
                     9

                    10
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                                                                       for its sub fund Cairn Capstone Special
                    21                                                 Opportunities Fund
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                      1       SUPPLEMENTAL DECLARATION OF ANDREW K. GLENN IN SUPPORT OF
                                                      I) ORDER APPOINTING TRUSTEE PURSUANT TO 11
                      2     U.S.C. § 1104(A), OR, ALTERNATIVELY, (II) ORDER GRANTING RELIEF FROM
                      3                   AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(D)

                      4          I, Andrew K. Glenn, being duly sworn, state the following:
                      5          1.      I am a partner at the law firm of Kasowitz Benson Torres LLP, counsel for Cairn

                      6                                      Cairn   in the Chapter 11 Case.

                      7          2.      I make this declaration to present the Court with the attached documents in

                      8   connection with Cairn Reply in further support of its Motion for (I) Order Appointing Trustee

                      9   Pursuant to 11 U.S.C. § 1104(a), or, Alternatively, (II) Order Granting Relief From Automatic

                     10   Stay Pursuant to 11 U.S.C. § 362(d) [Docket No. 25],                                               n

                     11   thereto [Docket No. 37]       Opposition .

                     12          3.      Attached hereto as Exhibit A is a true and correct copy of the correspondence

                     13                                           and myself, dated July 7, 2020, confirming the one-day

                     14   extension to submit the Opposition.

                     15          4.      Attached hereto as Exhibit B is a true and correct copy of the correspondence

                     16   between                                 and myself, dated July 10, 2020, regarding the $10,000

                     17   payment made to Levene, Neale, Bender, Yoo & Brill LLP from the American Express Platinum

                     18   Card ending in 2000.

                     19          5.      Attached hereto as Exhibit C is a true and correct copy of the BlackRock

                     20   Complaint as amended, dated June 26, 2020, and filed with the Supreme Court of the State of

                     21   New York, County of New York.

                     22          I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that, to the best of my

                     23   knowledge and after reasonable inquiry, the foregoing is true and correct.

                     24          Executed this 14th day of July in New York, New York.

                     25

                     26                                                                /s/ Andrew K. Glenn
KASOWITZ BENSON
                                                                                         Andrew K. Glenn
  TORRES LLP         27
 ATTORNEYS AT LAW
   LOS ANGELES
                     28
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      GLENN SUPPLEMENTAL DECLARATION

                                              A
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Naznen Rahman

From:                                       Shai Schmidt
Sent:                                       Tuesday, July 14, 2020 12:40 PM
To:                                         Naznen Rahman
Subject:                                    FW: Temerity




Shai Schmidt
Kasowitz Benson Torres LLP
1633 Broadway
New York, NY 10019
Tel. (212) 506-1949
Fax. (212) 500-3462
SSchmidt@kasowitz.com
From: Kurt Ramlo [mailto:KR@lnbyb.com]
Sent: Tuesday, July 7, 2020 6:46 PM
To: Andrew K. Glenn <AGlenn@kasowitz.com>
Cc: Shai Schmidt <SSchmidt@kasowitz.com>; David B. Golubchik <DBG@lnbyb.com>
Subject: RE: Temerity

                                                              **EXTERNAL EMAIL**

Andrew,

We’re looking into the issue and will get back to you.

Thanks for extending our time to tomorrow.

Kurt

Kurt Ramlo
LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
Direct 310 229 3378 | Cell 310 880 9208 (no voicemail) | Main 310 229 1234
The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Brill L.L.P.'s
email policies which can be found at http://www.lnbyb.com/disclaimers.htm.




From: Andrew K. Glenn <AGlenn@kasowitz.com>
Sent: Tuesday, July 7, 2020 12:57 PM
To: Kurt Ramlo <KR@lnbyb.com>
Cc: Shai Schmidt <SSchmidt@kasowitz.com>
Subject: Temerity

Kurt,

Please advise whether Ms. Kadadu will produce her Amex bills so we can verify whether the account(s) (i) received the
payments listed in the DOJ indictment and (ii) funded your firm’s retainer.

Thank you.
                                                                              1
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                                                    Complete PDF Page 25 of 83



Andrew K. Glenn
Kasowitz Benson Torres LLP
1633 Broadway
New York, New York 10019
Tel. (212) 506-1747
Fax. (212) 835-5047
AGlenn@kasowitz.com

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      GLENN SUPPLEMENTAL DECLARATION

                                              B
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Naznen Rahman

From:                                       Shai Schmidt
Sent:                                       Tuesday, July 14, 2020 12:40 PM
To:                                         Naznen Rahman
Subject:                                    FW: Temerity




Shai Schmidt
Kasowitz Benson Torres LLP
1633 Broadway
New York, NY 10019
Tel. (212) 506-1949
Fax. (212) 500-3462
SSchmidt@kasowitz.com
From: Kurt Ramlo [mailto:KR@lnbyb.com]
Sent: Friday, July 10, 2020 10:22 PM
To: Andrew K. Glenn <AGlenn@kasowitz.com>
Cc: Shai Schmidt <SSchmidt@kasowitz.com>; David B. Golubchik <DBG@lnbyb.com>
Subject: RE: Temerity

                                                              **EXTERNAL EMAIL**

Andrew,

The $10,000 payment to LNBYB on or about May 26, 2020 came from an American Express Platinum Card ending in -
2000. Ms. Kadadu informs me that William Sadleir is the account holder and that she was an authorized user under a
different account number. Ms. Kadadu also informs me that the -2000 account is the account alleged in paragraph 27(a)
of the Los Angeles criminal complaint to have received a $26,180.31 payment.

Kurt

Kurt Ramlo
LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
Direct 310 229 3378 | Cell 310 880 9208 (no voicemail) | Main 310 229 1234
The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Brill L.L.P.'s
email policies which can be found at http://www.lnbyb.com/disclaimers.htm.




From: Andrew K. Glenn <AGlenn@kasowitz.com>
Sent: Friday, July 10, 2020 2:15 PM
To: Kurt Ramlo <KR@lnbyb.com>
Cc: Shai Schmidt <SSchmidt@kasowitz.com>
Subject: Temerity

Please advise whether you are providing the information about the Amex accounts.

Thanks.

Andrew K. Glenn
                                                                              1
         Case 2:20-bk-15015-BR                    Doc 39-1 Filed 07/14/20 Entered 07/14/20 20:24:20                                         Desc
                                                    Complete PDF Page 28 of 83
Kasowitz Benson Torres LLP
1633 Broadway
New York, New York 10019
Tel. (212) 506-1747
Fax. (212) 835-5047
AGlenn@kasowitz.com

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delete this e-mail without making a copy.




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      GLENN SUPPLEMENTAL DECLARATION

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                           Kassabian v. Dobos (In re
  Dobos), Case No. 18-1001-BR (Bankr. C.D. Cal. Oct.
  30, 2018) [Docket No. 28],    , 603 B.R. 31 (B.A.P.
                    9th Cir. 2019)
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   In re Real Estate Partners, Inc., Case No. 07-13239,
   2007 WL 7025114 (Bankr. C.D. Cal. Nov. 20, 2007)
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   In re Hatch, Case No. 17-23829, 2017 WL 8738241
            (Bankr. E.D. Cal. Aug. 30, 2017)
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                                                   Complete PDF Page 83 of 83



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 101 California Street, Suite 3000, San Francisco, CA 94111


                                                                      Reply in Further Support of Motion for
A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
 (I) Order Appointing Trustee Pursuant to 11 U.S.C. § 1104(a), or, Alternatively, (II) Order Granting Relief
________________________________________________________________________________________________
 From Automatic Stay Pursuant to 11 U.S.C. § 362(d); Declaration of Andrew K. Glenn in Support Thereof
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
07/14/2020          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  David B Golubchik – dbg@lnbyb.com
  Kurt Ramlo – kr@lnbyb.com
  Ron Maroko – ron.maroko@usdoj.gov
  United States Trustee (L.A.) – ustpregion16.la.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  07/14/2020
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 David B Golubchik – dbg@lnbyb.com
 Kurt Ramlo – kr@lnbyb.com
 Ron Maroko – ron.maroko@usdoj.gov
 United States Trustee (L.A.) – ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

07/14/2020         Andrew R.J. Muir                                                            /s/ Andrew R.J. Muir
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
